        Case 1:19-mc-00145-TSC Document 396 Filed 01/12/21 Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                           )
In the Matter of the                       )
Federal Bureau of Prisons’ Execution       )
Protocol Cases,                            )
                                           )
LEAD CASE: Roane et al. v. Barr            )       Case No. 19-mc-145 (TSC)
                                           )
                                           )
THIS DOCUMENT RELATES TO:                  )
                                           )
Roane, et al. v. Barr, No. 05-2337         )
                                           )

                                     NOTICE OF APPEAL

       Notice is hereby given that Defendants appeal to the United States Court of Appeals for

the District of Columbia Circuit from the Memorandum Opinion and Order entered on January 12,

2021, see ECF Nos. 394 (Memorandum Opinion) and 395 (Order), in which this Court granted

Plaintiffs Cory Johnson’s and Dustin Higgs’s Motions for Preliminary Injunction as to their as-

applied Eighth Amendment challenges to the government’s execution protocol and enjoined

Defendants from executing either Johnson or Higgs “until March 16, 2021,” Memorandum

Opinion at 31, ECF No. 394, “to allow Plaintiffs the opportunity to adequately recover from
COIVD-19,” id. at 3. See also ECF No. 395 at 1.



Dated: January 12, 2021
       Case 1:19-mc-00145-TSC Document 396 Filed 01/12/21 Page 2 of 5




Respectfully submitted,


JEFFREY BOSSERT CLARK                    MICHAEL R. SHERWIN
Acting Assistant Attorney General        Acting United States Attorney

JEAN LIN                                 BRIAN P. HUDAK
Special Litigation Counsel               Acting Chief, Civil Division

JONATHAN KOSSAK, D.C. Bar #991478        By: /s/ Johnny Walker
CRISTEN C. HANDLEY, MO Bar #69114        JOHNNY H. WALKER, D.C. Bar #991325
BRADLEY P. HUMPHREYS,                    Assistant United States Attorney
  D.C. Bar #988057                       555 4th Street, N.W.
Trial Attorneys                          Washington, District of Columbia 20530
Federal Programs Branch                  Telephone: 202 252 2575
Civil Division, Department of Justice    Email: johnny.walker@usdoj.gov
1100 L Street, N.W.
Washington, District of Columbia 20005
(202) 514-3716                           Counsel for Defendants
jean.lin@usdoj.gov
jonathan.kossak@usdoj.gov
christen.handley@usdoj.gov
bradley.humphreys@usdoj.gov

Dated: January 12, 2021




                                         2
         Case 1:19-mc-00145-TSC Document 396 Filed 01/12/21 Page 3 of 5


                                CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2021, I caused a true and correct copy of foregoing to be

served on all following counsel of record via the Court’s CM/ECF system.



 Joshua C. Toll                              Ginger D. Anders
 King & Spalding LLP                         Jonathan S. Meltzer
 (202) 737-8616                              Brendan Gants
 jtoll@kslaw.com                             Munger, Tolles & Olson LLP
                                             (202) 220-1100
 Margaret O’Donnell
                                             ginger.anders@mto.com
 (502) 320-1837
 mod@dcr.net                                 Counsel for Plaintiff Brandon Bernard
 Counsel for Plaintiff Anthony Battle


 Alex Kursman                                Scott W. Braden
 Shawn Nolan                                 Arkansas Federal Defender Office
 Federal Community Defender Office,          (501) 324-6114
 E.D. Pa.                                    Scott_Braden@fd.org
 (215) 928-0520                              Jennifer Ying
 alex_kursman@fd.org                         Andrew Moshos
 shawn_nolan@fd.org                          Morris, Nichols, Arsht & Tunnell LLP
 Counsel for Plaintiff Alfred Bourgeois      (302) 658-9300
                                             jying@mnat.com
                                             amoshos@mnat.com
                                             Counsel for Plaintiff Norris G. Holder, Jr.


 Joseph Luby                                 Amy Lentz
 Federal Community Defender Office,          Steptoe & Johnson, LLP
 E.D. Pa.                                    (202) 429.1320
 (215) 928-0520                              alentz@stepoe.com
 joseph_luby@fd.org
                                             Counsel for Plaintiff Orlando Hall
 Counsel for Plaintiff Chadrick Fulks




                                                 1
        Case 1:19-mc-00145-TSC Document 396 Filed 01/12/21 Page 4 of 5


Shawn Nolan                               Gregory S. Smith
Federal Community Defender Office,        (202) 460-3381
E.D. Pa.                                  gregsmithlaw@verizon.net
(215) 928-0520
shawn_nolan@fd.org                        Counsel for Plaintiff William LeCroy
Counsel for Plaintiff Dustin Higgs


Jon Jeffress                              Donald P. Salzman
KaiserDillon PLLC                         Charles F. Walker
(202) 640-2850                            Steven M. Albertson
jjeffress@kaiserdillon.com                Skadden, Arps, Slate, Meagher & Flom
                                          LLP
Timothy Kane
                                          (202) 371-7983
Shawn Nolan
                                          donald.salzman@skadden.com
Federal Community Defender Office,
E.D. Pa.                                  Counsel for Plaintiff Corey Johnson
(215) 928-0520
timothy_kane@fd.org
shawn_nolan@fd.org
Counsel for Plaintiff Dustin Lee Honken


David S. Victorson                        Shawn Nolan
Hogan Lovells US LLP                      Federal Community Defender Office,
(202) 637-5600                            E.D. Pa.
david.victorson@hoganlovells.com          (215) 928-0528
                                          shawn_nolan@fd.org
Pieter Van Tol
Hogan Lovells US LLP                      Gary E. Proctor
(212) 918-3000                            Law Offices of Gary E. Proctor, LLC
pieter.vantol@hoganlovells.com            (410) 444-1500
                                          garyeproctor@gmail.com
Counsel for Plaintiff Daniel Lewis Lee
                                          Counsel for Plaintiff Jeffrey Paul




                                             2
        Case 1:19-mc-00145-TSC Document 396 Filed 01/12/21 Page 5 of 5


Gerald W. King, Jr.                         Alan E. Schoenfeld
Jeffrey Lyn Ertel                           Ryan M. Chabot
Federal Defender Program, Inc.              Wilmer Cutler Pickering Hale and Dorr
(404) 688-7530                              LLP
Gerald_King@fd.org                          (212) 230-8880
Jeff_Ertel@fd.org                           Alan.Schoenfeld@WilmerHale.com
                                            Ryan.Chabot@WilmerHale.com
Brandon D. Almond
Troutman Sanders LLP                        Andres C. Salinas
Washington, D.C. 20004                      Wilmer Cutler Pickering Hale and Dorr
(202) 274-2864                              LLP
brandon.almond@troutmansanders.com          (202) 663-6289
Counsel for Richard Tipton, III             Andres.Salinas@WilmerHale.com
                                            Counsel for Wesley I. Purkey


Dale A. Baich                               Amy Karlin
Jennifer M. Moreno                          Interim Federal Public Defender
Federal Public Defender                     Celeste Bacchi
District of Arizona                         Jonathan C. Aminoff
(602) 382-2816                              Deputy Federal Public Defenders
dale_baich@fd.org                           (213) 894-2854
jennifer_moreno@fd.org                      celeste_bacchi@fd.org
Counsel for Plaintiff Keith Nelson          Counsel for Plaintiff Julius O. Robinson


Paul F. Enzinna                             Evan Miller
Ellerman Enzinna PLLC                       Vinson & Elkins LLP
(202)753-5553                               (202) 639-6605
penzinna@ellermanenzinna.com                emiller@velaw.com
Counsel for Plaintiff James H. Roane, Jr.   Counsel for Bruce Webster




                                             /s/Johnny Walker
                                            Assistant United States Attorney
                                            Counsel for Defendants




                                               3
